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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

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  IN RE TEVA SECURITIES LITIGATION                         No. 3:18-cv-01681 (SRU)
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  THIS DOCUMENT RELATES TO:                                No. 3:19-cv-00603 (SRU)
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                      CONFERENCE MEMORANDUM AND ORDER

       On November 13, 2024, I held a telephone conference on the record with Jeffrey

Ritholtz, attorney for the Highfields plaintiffs (“Highfields”); Sheron Korpus, Andrew Schwartz,

Sarah Leivick, and Jill O’Toole, attorneys for the defendants; Emma Waitzman and Aaron

Sheanin, attorneys for the United States; and Christopher Ondeck, counsel for the joinder

defendants in In re Generic Pharmaceuticals Pricing Antitrust Litigation (E.D. Pa. MDL No.

2724). The purpose of the call was to address discrete discovery issues and to address

Highfields’ motion to compel DOJ Interview Memoranda produced in the parallel criminal case,

United States v. Teva Pharmaceuticals USA, Inc., No. 20-200-02 (E.D. Pa.).

       I turned first to the motion to compel. I gave the government seven days’ time to claw

back the DOJ Memoranda within Teva’s possession. If the government chooses to claw back the

memoranda, then Highfields may request the Memoranda from the government pursuant to

Touhy regulations. If the government does not claw back the memoranda within seven days

from the date of the conference, I will grant Highfields’ motion to compel, doc. no. 157, to the

extent that Highfields seeks memoranda of interviews of current or former Teva employees, and
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deny the motion without prejudice to the extent that Highfields seeks memoranda of interviews

of persons who merely mentioned Teva, because that request is vague and overbroad.

       I turned next to the other discrete discovery disputes. Highfields and the defendants

raised disagreements regarding scheduling and time allocation with Rule 30(b)(6) corporate

representative witnesses. Three of Highfields’ Rule 30(b)(6) witnesses—Craig Peskin, Jonathan

Jacobson, and Robert Wang—are also fact witnesses. The defendants estimate that the

depositions for each of those three witnesses as both fact and 30(b)(6) witnesses may take more

than one day to complete. I ordered that those three witnesses must be made available for a total

of one additional day of deposition testimony (seven hours), to be divided amongst the three

witnesses.

       The second discovery dispute involved Jonathan Jacobson’s cell phone communications.

I remarked that ahead of Mr. Jacobson’s deposition, he ought to share the documents that are

subject to the defendants’ subpoena and ought to note which applicable communications were

preserved, and what counsel did to preserve those communications. Attorney Ritholtz agreed to

comply with that subpoena and will share responsive documents with the defendants seven days

prior to Mr. Jacobson’s deposition.

       So ordered.

Dated at Bridgeport, Connecticut, this 15th day of November 2024.

                                                            /s/ STEFAN R. UNDERHILL
                                                            Stefan R. Underhill
                                                            United States District Judge




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